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                                    GEORGE HAWLEY
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                                      University of Alabama
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                                  http://www.georgehawley.com

Academic Positions

        Associate Professor, Department of Political Science, University of Alabama, 2018-
        Assistant Professor, Department of Political Science, University of Alabama, 2013-2018
        Visiting Assistant Professor, The Honors College, University of Houston, 2012-2013
        Adjunct Professor, Department of Political Science, University of Houston, 2011-12

Education

        Ph.D. University of Houston, Political Science, May 2012
        M.A. University of Houston, Political Science, May 2010
        B.A. Central Washington University, Print Journalism and Political Science, June 2006

Books

        George Hawley. 2022. Conservatism in a Divided America: The Right and Identity Politics.
        Forthcoming from University of Notre Dame Press

        George Hawley. 2018. The Alt-Right: What Everyone Needs to Know. New York: Oxford
        University Press
               Reviewed in The Guardian, American Political Thought, Interpretation,
               Counterpunch, Socialism Today, Dagens Nyheter, Socialist Standard, and Socialist
               Review
               Listed as “Book of the Day” by The Guardian, March 22, 2019

        George Hawley. 2017. Demography, Culture, and the Decline of America’s Christian
        Denominations. Lanham, MD: Lexington Books
               Reviewed in Review of Religious Research, Concordia Historical Institute Quarterly,
               Religion Watch, and First Things
               Winner of Award of Commendation from the Concordia Historical Institute

        George Hawley. 2017. Making Sense of the Alt-Right. New York: Columbia University Press
               Reviewed in Political Science Quarterly, Politics and Religion, The Washington
               Post, Nations and Nationalism, Publishers Weekly, Library Journal, Perspectives on
               Terrorism, Democratization, Politique Etrangere, Pacific Standard, Daily Kos,
               Ikhtilaf, Times Higher Education, New Statesman, Searchlight Magazine,
               VoegelinView, The Times Literary Supplement, The Forward, and The Common
               Reader
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Books (Continued)

       George Hawley. 2016. Right-Wing Critics of American Conservatism. Lawrence, KS:
       University Press of Kansas
              Reviewed in Perspectives on Politics, American Political Thought, Political Science
              Quarterly, Journal for the Study of Radicalism, Journal of Information Ethics,
              Choice, Library of Law and Liberty, The Claremont Review of Books, Reason, The
              University Bookman, Chronicles, Institute of Public Affairs Review, and The
              American Conservative

       George Hawley. 2014. White Voters in 21st Century America. New York: Routledge

       George Hawley. 2013. Voting and Migration Patterns in the U.S. New York: Routledge


Book Chapters and Scholarly Articles

       José Pedro Zúquete, Richard Marcy, and George Hawley. ND. “Jonathan Bowden: Ideas,
       Leadership, and Vanguardism.” Under review

       Jack Thompson and George Hawley. 2021. “Does the Alt-Right Still Matter? An
       Examination of Alt-Right Influence Between 2016 and 2018.” Nations and Nationalism
       27(4)

       George Hawley. 2021. “Religion and the Alt-Right.” In The Routledge Handbook of Religion
       and Ideology, ed. Jeffrey Haynes. New York: Routledge

       George Hawley. 2021. “‘The ‘Groyper’ Movement in the U.S.: Challenges for the Post-Alt-
       Right.” In Contemporary Far Right Thinkers and the Future of Liberal Democracy, eds. A.
       James McAdams and Alejandro Castrillon. New York: Routledge

       George Hawley. 2021. “Media and the ‘Alt-Right.’” In The Routledge Companion to Media
       Misinformation and Populism, eds. Howard Tumber & Silvio Waisbord. New York:
       Routledge

       George Hawley. 2021. “The Stillborn Revolution: The Failure of Right-Wing Populism in the
       United States.” In Global Resurgence of the Right: Conceptual and Regional Perspectives,
       eds. Gastón Sourroujon and Gisela Pereyra Doval. New York: Routledge

       George Hawley. 2020. “Republican Voters and Conservative Ideology.” In The Vanishing
       Tradition: Perspectives on American Conservatism, ed. Paul Gottfried. Ithaca, NY: Cornell
       University Press

       Hong Min Park and George Hawley. 2020. “Determinants of the Opinion Gap between the
       Elites and the Public in the United States.” The Social Science Journal 57(1)
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Book Chapters and Scholarly Articles (Continued)

       George Hawley. 2019. “Immigration Status, Immigrant Family Ties, and Support for the
       Democratic Party.” Social Science Quarterly 100(4)

       Mathew Manweller, George Hawley, and Kristen Hawley. 2017. “Competing Liberal
       Values: The Effects of VRA Sec. 2 Litigation on Electoral Competiveness.” Law Journal for
       Social Justice 7(Spring)

       George Hawley. 2016. “Immigration.” in American Governance, ed. Stephen L. Schechter.
       Farmington Hill, MI: Macmillan Reference USA

       George Hawley. 2016. “Geographic Mobility and Sorting.” in American Governance, ed.
       Stephen L. Schechter. Farmington Hill, MI: Macmillan Reference USA

       George Hawley. 2015. “Attitudes toward Mormons and Voter Behavior in the 2012
       Presidential Election.” Politics and Religion 8(1)

       George Hawley. 2013. “Local Political Context and Polarization in the Electorate: Evidence
       from the 2004 Presidential Election.” American Review of Politics 34(1)

       George Hawley. 2013. “Issue Voting and Immigration: Do Restrictionist Policies Cost
       Congressional Republicans Votes?” Social Science Quarterly 94(5)

       George Hawley and Iñaki Sagarzazu. 2012. “Where Did the Votes Go? Reassessing
       American Party Realignments via Vote Transfers between Major Parties from 1860 to 2008.”
       Electoral Studies 31(4)

       George Hawley. 2012. “Home Affordability, Female Marriage Rates, and Vote Choice in the
       2000 Presidential Election: Evidence from U.S. Counties.” Party Politics 18(5)

       George Hawley. 2012. “Immigration and American Politics.” in Institutions, Policy and
       American Government. McGraw-Hill Publishing, textbook compiled by the University of
       Houston

       George Hawley. 2011. “Political Threat and Immigration: Party Identification, Demographic
       Context, and Immigration Policy Preferences.” Social Science Quarterly 91(2)

       George Hawley. 2005. “Obesity is Not a Disease.” in Obesity: Opposing Viewpoints, ed.
       Andrea C. Nakaya. Farmington Hills, MI: Greenhaven Press

Non-Refereed Reports

       George Hawley and Richard Hanania. 2020. The National Populist Illusion: Why Culture,
       Not Economics Drives American Politics. Los Angeles, CA: The Center for the Study of
       Partisanship and Ideology
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Non-Refereed Reports (Continued)

       George Hawley. 2019. Are Trump Supporters Anti-Muslim? Washington, DC: The Brookings
       Institution

       George Hawley. 2019. Ambivalent Nativism: Trump Supporters’ Attitudes toward Islam and
       Muslim Immigration. Washington, DC: The Brookings Institution

       George Hawley. 2018. The Demography of the Alt-Right. Charlottesville, VA: The Institute
       for Family Studies

       George Hawley. 2017. How Mortgages and Marriages Influence Election Outcomes.
       Charlottesville, VA: The Institute for Family Studies.

       George Hawley. 2016. “The LCMS in the Face of Demographic and Social Change.” Special
       issue of The Journal of Lutheran Mission. St. Louis, MO. Lutheran Church-Missouri Synod

       Jason Marczak, Jeronimo Cortina, and George Hawley. 2011. The Economic Impact of
       Immigrant Related Local Ordinances. New York: Americas Society and Council of the
       Americas

Book Reviews in Scholarly Journals

       George Hawley. 2022. Review of Far-Right Vanguard by John Huntington. Perspectives on
       Politics. Forthcoming.

       George Hawley. 2021. Review of Blue Metros, Red States: The Shifting Urban-Rural Divide
       in America's Swing States by David F. Damore, Karen A. Danielsen, and Robert E. Lang.
       Political Science Quarterly. 136(3)

       George Hawley. 2020. Review of Producers. Parasites. Patriots: Race and the New Right-
       Wing Politics of Precarity by Daniel Martinez HoSang and Joseph E. Lowndes. American
       Political Thought. 9(3)

       George Hawley. 2019. Review of The Rise of the Alt-Right by Thomas Main. Political
       Science Quarterly. 134(4)

       George Hawley. 2019. Review of Welcoming New Americans? Local Governments and
       Immigrant Incorporation by Abigail Fisher Williamson. Political Science Quarterly.
       134(3)

       George Hawley. 2018. Review of The People Vs. Democracy: Why Our Freedom is in
       Danger and How to Save It by Yascha Mounk. Modern Age. Summer

       George Hawley. 2018. Review of Blood and Faith: Christianity in American White
       Nationalism by Damon T. Berry. Politics and Religion. 11(3)
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Book Reviews in Scholarly Journals (Continued)

       George Hawley. 2016. Review of White Backlash: Immigration, Race, and American Politics
       by Marissa Abrajano and Zoltan L. Hajnal, Political Science Quarterly. 131

Selected Opinion Writing

       George Hawley. 2021. “Lessons of Glenn Youngkin’s Shocking Victory in Virginia
       Governor’s Race.” The New York Post. November 3

       George Hawley and Richard Hanania. 2020. “The Working-Class Party Myth, and What
       Really Motivates Voters.” National Review. December 13

       George Hawley. 2018. “The Extreme Right is a Threat to Some Individuals but will Never
       Hold Political Power.” The Washington Post. February 16

       George Hawley. 2017. “The European Roots of the Alt-Right.” Foreign Affairs. October 27

       Carson Holloway and George Hawley. 2017. “Did the 2016 Election Provide a Blueprint for
       the Future Success of the Republican Party?” Starting Points. January 23

       George Hawley. 2017. “How Donald Trump can Change Conservatism.” The New York
       Times. January 19

       George Hawley. 2016. “A Right-Wing Revolt against Trump? Dream on.” New York Daily
       News. March 25

Articles in Law and Liberty

       “Partisan Democracy,” December 6, 2021

       “The Promise of Populism,” October 14, 2021

       “Stranger Things in Reaganland,” August 2, 2021

       “After National Conservatism,” May 31, 2021

       “The Man Behind the Curtain?” September 2, 2020

       “Talk Radio, Take One,” July 6, 2020

       “Takin’ it to the Streets,” May 8, 2020

       “Surviving Russophobia,” December 2, 2019

       “What Really Happened in the Last Presidential Race?” June 27, 2019

       “What are the Real Fault Lines Dividing Americans?” March 18, 2019
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Articles in Law and Liberty (Continued)

       “Welcome to the Party, Pal,” July 2, 2018

       “Lee Edwards’ Just Right and the Lessons of Movement Politics,” April 16, 2018

       “What the Abortion Debate Hath Wrought,” December 21, 2017

       “Bannon’s World of Political Warcraft,” November 20, 2017


Selected Invited Presentations

       George Hawley. “Laundered Identity: The Ambiguous Place of Right-Wing Identity
       Politics in the U.S.” Presented at “International Workshop: Blurring Boundaries? Illiberal
       conservatism and the New Right” conference at SCRIPTS Berlin, September 2021

       George Hawley. “'Groypers' versus TPUSA: New Strategies on the American Far Right”
       Presented at the “New-Right Thinkers and the Crisis of Liberal Democracy” conference at
       the University of Notre Dame, February 2020

       George Hawley. “The Rise and Fall of the Alt-Right.” Presented at the “From America to
       Europe: Identity, Mass Immigration, and White Backlash” conference in Lisbon, Portugal,
       November 2019

       George Hawley. “Islam and Populism in the United States.” Presented at the “Muslims in the
       West” workshop at the Brookings Institute, March 2019

       George Hawley. “Lessons from the Alt-Right’s Rise and Fall.” Presented at the Centre of
       Excellence for National Security “Age of Rages” workshop, Singapore, February 2019

       George Hawley. “The Extreme Right and Health Care Policy.” Presented at the University of
       Alabama College of Community Health Sciences, December 2018

       George Hawley. “Does the Conservative Movement have a Future?” Presented at the
       University of Georgia Department of Political Science, November 2018

       George Hawley, Melani McCalister, Adam Russell Taylor. “The Present: The Alt-Right in
       the United States and Beyond Over the Last Decade.” Panel discussion part of the Berkeley
       Center conference on “Christianity and the Alt-Right,” held at Georgetown University,
       October, 2018

       Alexandra Woodward, Ned Ryun, George Hawley, Katie Harbath, and Andrew Marantz
       “Will Social Media Save Democracy?” Panel discussion at the Cato Institute, June, 2018

       George Hawley. “Is the Alt-Right Collapsing?” Presented to the Center for Right-Wing
       Studies at the University of California, Berkeley in 2018, Berkeley, CA
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Selected Invited Presentations (Continued)

       George Hawley. “The Strange and Troubling Rise of the Alt-Right,” Leadership
       Birmingham/Leadership Alabama 2017, Birmingham, AL

       George Hawley and Daniel McCarthy, “Intellectuals and Trump: Understanding our
       Disruptive Moment.” The Hauenstein Center for Presidential Studies, the program was part
       of the “2017 Conservative/Progressive Summit,” Grand Rapids, MI

       George Hawley. “In Conversation: George Hawley,” International Center for Photography,
       the program was held in conjunction with the “Right-Wing Fringe and the 2016 Election”
       section of the ICP Museum's current exhibition, Perpetual Revolution: The Image and Social
       Change. New York, NY

       George Hawley. “The Rise of the Extreme Right,” Public Affairs Week 2017, Baruch
       College, Marxe School of Public and International Affairs, New York, NY

       George Hawley. “Author Meets His Critics: Right-Wing Critics of American Conservatism,”
       Panel discussion at the 2017 Western Political Science Association Conference, Vancouver,
       Canada

       George Hawley. “What is the Future of the Conservative Movement?” Election Day
       presentation at the Kinder Institute on Constitutional Democracy, Columbia, MO

       George Hawley. “Demographic Change and the State of the LCMS.” Presentation in 2016 to
       the leadership of the Lutheran Church- Missouri Synod, St. Louis, MO

       George Hawley. “Right-Wing Critics of American Conservatism.” Presented in fall 2015 at
       the University of Alabama Department of Political Science Speaker Colloquium, Tuscaloosa,
       AL

       George Hawley. “Polarized Politics: How to Restore Trust in Government.” Presented in
       spring 2014 at the University of Alabama Honors College, Tuscaloosa, AL

Selected Conference Papers

       George Hawley. “The Political Consequences of Immigration across Generations.” Paper
       presented at the 2017 Pacific Northwest Political Science Association Conference

       George Hawley and Iñaki Sagarzazu. “The Electoral Implications of Declining Union
       Membership.” Paper presented at the 2016 Midwest Political Science Association Annual
       Conference

       George Hawley and Mathew Manweller. “Population Growth and Incumbency in County
       Elections” Paper presented at the 2014 American Political Science Association Annual
       Conference

       George Hawley. “Ethnicity and the White Vote: Does it still Matter?” Paper presented at the
       2014 Midwest Political Science Association Annual Conference
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Selected Conference Papers (Continued)

       George Hawley. “Racial Resentment and White Turnout in 2008 and 2012.” Paper Presented
       at the 2013 Pacific Northwest Political Science Association Annual Conference

       George Hawley. “How Responsive to Public Opinion are Members of Congress on the
       Subject of Immigration?” Paper Presented at the 2012 Pacific Northwest Political Science
       Association Annual Conference

       George Hawley. “Do Latino Voters Reward Pro-Immigration Members of Congress? Do
       Non-Hispanic White Voters Punish Them? Evidence from the 2006 Congressional
       Elections.” Paper presented at the 2012 Midwest Political Science Association Annual
       Conference

       Iñaki Sagarzazu and George Hawley. “The 2010 Midterm Senate Elections in Historical
       Perspective.” Paper presented at the 2012 Midwest Political Science Association Annual
       Conference

       George Hawley. “Is Geographic Polarization Driving Partisan Polarization?” Paper presented
       at the 2011 Pacific Northwest Political Science Association Annual Conference?

       Noah Kaplan, Ernesto Calvo, and George Hawley. “Do Leadership PAC Donations Predict
       Cosponsorship in the U.S. House of Representatives for the 105th through 110th
       Congresses?” Paper presented at the 2011 Midwest Political Science Association Annual
       Conference

       George Hawley. “Political Threat and Immigration: Party Identification, Demographic
       Context, and Immigration Policy Preferences.” Paper presented at the 2010 Pacific Northwest
       Political Science Association Annual Conference

Teaching Experience

       Instructor: Religion and American Politics (Graduate Course, University of Alabama)
       Instructor: Demographic Change and Politics (Graduate Course, University of Alabama)
       Instructor: American Political Behavior (Graduate Course, University of Alabama)
       Instructor: Quantitative Methods I (Graduate Course, University of Alabama)
       Instructor: Quantitative Methods II (Graduate Course, University of Alabama)
       Instructor: Migration and American Politics (University of Alabama)
       Instructor: Religion and Politics (University of Alabama)
       Instructor: The Conservative Movement in America (University of Alabama)
       Instructor: Political Parties and Elections (University of Alabama)
       Instructor: Introduction to American Politics (University of Alabama)
       Instructor: Introduction to American Politics (Online, University of Alabama)
       Instructor: Honors American & Texas Government (University of Houston Honors College)
       Instructor: American & Texas Government (University of Houston)
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Select Service

       Board member and research associate: The Center for the Study of Partisanship and Ideology
       (2020-present)
       Dissertation committee chair (2018-present)
       Dissertation committee member (2017-present)
       Comprehensive exam committee member (2014-present)
       Outside tenure dossier reviewer (2019; 2020)
       Journal Reviewer: Journal of Politics, Politics and Religion, American Journal of Political
       Science, British Journal of Political Science, Social Science Quarterly, Political Research
       Quarterly, Sociological Forum, Political Behavior, American Politics Research, Justice
       Quarterly, American Review of Politics, Journal for the Study of Radicalism, Perspectives on
       Politics, Acta Sociologica, American Political Thought, Journal of Communication Inquiry,
       Journalism, Nations and Nationalism, Religions
       Book Publisher Peer Reviewer: Cambridge University Press, University Press of Kansas,
       Yale University Press, Rowman & Littlefield International, Palgrave Macmillan, Oxford
       University Press, Columbia University Press, Routledge, Northern Illinois University Press
       Technology and Learning Committee Member: University of Alabama (2015-2018)
       Graduate Studies Committee Member: Department of Political Science, University of
       Alabama (2015-present)
       Speaker Colloquium Series Chair: Department of Political Science, University of Alabama
       (2015-2016)
       Undergraduate Studies Committee Member: Department of Political Science, University of
       Alabama (2013-present)
       Graduate Studies Committee Member: Department of Political Science, University of
       Alabama (2015-present)
       American Politics Search Committee Member: Department of Political Science, University
       of Alabama (2014-2015; 2018-2019)
       Public Policy Search Committee Member: Department of Political Science, University of
       Alabama (2015-2016)
       Secondary Faculty Advisor: University of Alabama College Democrats (2014-2020)
       Faculty Advisor: University of Alabama Young Americans for Freedom (2017-present);
       University of Alabama College Republicans (2020-present); University of Alabama TPUSA
       (2019-present)

Media Commentating

       I have been quoted, interviewed, or mentioned in the following media venues: The New York
       Times, The Washington Post, New York Magazine, National Public Radio, The Guardian,
       The Week, The Christian Science Monitor, The Chronicle of Higher Education, Le Monde
       (France), Haaretz (Israel), USA Today, Bloomberg, The New York Daily News, Christianity
       Today, Roll Call, Newsweek, PolitiFact, The Daily Beast, The Washington Times,
       Washington Monthly, RealClearPolicy, WND, Fox News Latino, The Weekly Standard,
       National Review, The American Conservative, MSNBC.com, Birmingham Business Journal,
       Iowa State Daily, Vanity Fair, Alabama Public Radio, The Jackson County Daily Sentinel,
       Vice, Boston Magazine, WalletHub, The Toronto Star, Starting Points, The Anniston Star,
       Peng Pai (China), BBC Radio, O Estado de S.Paulo (Brazil), Tribune de Genève
       (Switzerland), 24 Heures (Switzerland), Die Zeit(Germany), The Forward, Yahoo News.
